                    UNITED STATES COURT OF APPEALS
                        FOR THE EIGHTH CIRCUIT

                                        No: 22-2812

        Morehouse Enterprises, LLC, doing business as Bridge City Ordinance, et al.

                                                   Appellants

                                  State of Arizona, et al.

                                              v.

                Bureau of Alcohol, Tobacco, Firearms and Explosives, et al.

                                                   Appellees

                                 ------------------------------

                                District of Columbia, et al.

                                    Amici on Behalf of Appellee(s)


                                        No: 22-2854

        Morehouse Enterprises, LLC, doing business as Bridge City Ordinance, et al.

                               State of West Virginia, et al.

                                                   Appellants

                                              v.

                Bureau of Alcohol, Tobacco, Firearms and Explosives, et al.

                                                   Appellees

                                 ------------------------------

                                District of Columbia, et al.

                                    Amici on Behalf of Appellee(s)

______________________________________________________________________________

         Appeal from U.S. District Court for the District of North Dakota - Eastern
                                  (3:22-cv-00116-PDW)
______________________________________________________________________________

                                          ORDER


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       The petition for rehearing en banc is denied. The petition for rehearing by the panel is

also denied.

       Judge Erickson did not participate in the consideration or decision of this matter.

                                                     November 02, 2023




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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